 ORIGINAL
       Case 1:17-cv-04327-LLS-RWL                                     Document 71 Filed 12/07/17 Page 1 of 1
       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK                                                                   Amended
       ---------------------------------------------------------------------}{
                                                                                           ORDER OF REFERENCE
                                                                                           TO A MAGISTRATE JUDGE
       Plaintiff,      MICHAEL DARDASHTIAN,                  et al.
                                                                                                17 Civ. 4327 ( LLS )(~WQ
                -v-


       Defendant.       DAVID GITMAN,               et al.


                                                                            j{




              The above entitled action is referred to the designated Magistrate Judge for the following
       purpose(s):

                General Pretrial (includes scheduling,
       D        discovery, non-dispositive pretrial
                motions, and settlement)
                                                                                 D   Consent under 28 U.S.C. §636(c) for all
                                                                                     purposes (including trial)

                                                                                     Consent under 28 U.S. C. §636( c) for limited
                Specific Non-Dispositive                                             purpose (e. g., dispositive motion,
                Motion/Dispute:*
                    see below
                                                                                 D   preliminary injunction)
                                                                                     Purpose: _________

                                                                                 D   Habeas Corpus


                If referral is for discovery disputes when
                the District Judge is unavailable, the time
                                                                                 D   Social Security

                                                                                     Dispositive Motion (i.e., motion requiring
                period of the referral: _ _ _ _ _ _ __                               a Report and Recommendation)

       ~        Settlement*
                                                                                 D   Particular Motion:- - - - - - - - -



       D        Inquest After Default/Damages Hearing                                All such motions: - - - - - -

 *Identification and resolution of outstanding disputes regarding completeness of defendant's
 compliance with orders of this court (Ramos, J. on June 8 and June 9; Stanton, J. on June 19) for
 the purpose of restoring the factual situation to that existing on May 26, 2017; hear and determine
 resolution of each specific item still in issue between the parties. Recommend directions to be
 included in a preliminary injunction, as necessary to address continuing violations.

*Do not check if already referred for general pretrial.


                                                                                 SO ORDERED:
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           USDC SDNY                                                             United States District Judge
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